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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________________________________________________

In Re:                                                               Chapter 11

The Roman Catholic Diocese of Ogdensburg, New York,                  Case No. 23-60507 (PGR)

                  Debtor.
______________________________________________________________________________

      NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
______________________________________________________________________________

         PLEASE TAKE NOTICE that Taylor Stippel of the law firm of Jeff Anderson &

Associates, P.A. hereby enters her appearance pursuant to 11 U.S.C. § 1109(b), 11 U.S.C. §§ 101-

1330 (the “Bankruptcy Code”), and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”) on behalf of Certain Personal Injury Creditors, and requests that she be

added to the service list in this case and that copies of all notices and pleadings given or filed in

this case be served upon the person listed below at the following address and telephone number.

                                         Taylor Stippel
                               Jeff Anderson & Associates, P.A.
                                 366 Jackson Street, Suite 100
                                      St. Paul, MN 55101
                                  Telephone: (651) 227-9990
                                  Facsimile: (651) 297-6543
                             Email: taylor@andersonadvocates.com

         PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in the

Bankruptcy Rules 2002, 3017, 4001, 9007 and 9010(b), but also includes, without limitation, any

plan of reorganization and objections thereto, notices of any orders, pleadings, motions,

applications, complaints, demands, hearing, requests or petitions, disclosure statements, answering

or reply papers, memoranda and briefs in support of any of the aforementioned and any other
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documents brought before this Court with respect to these proceedings, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, e-mail, delivery,

telephone, telegraph, telex, telecopier, or otherwise.

       The Notice of Appearance and Request for Service of Papers shall not be deemed to be a

submission to the Bankruptcy Court’s jurisdiction or a waiver of the above-named party in

interest’s rights (1) to have final orders in non-core matters entered only after de novo review by

a District Court Judge; (2) to trial by jury in any proceeding so triable in this case or any case,

controversy, or proceeding related to this case; (3) to have the District court withdraw the reference

in any matter subject to mandatory or discretionary withdrawal; or, (4) to any other rights, claims,

actions, setoffs, or recoupments to which the above-named party in interest is or may be entitled,

in law or in equity, by all of which rights, claims, actions, defenses, setoffs, and recoupments that

the above-named party in interest expressly reserves.

Dated: August 17, 2023.                        JEFF ANDERSON & ASSOCIATES, P.A.


                                               /s/Taylor Stippel
                                               Taylor Stippel
                                               366 Jackson Street, Suite 100
                                               St. Paul, MN 55101
                                               Telephone: 651-227-9990
                                               Facsimile: 651-297-6543
                                               Email: taylor@andersonadvocates.com

                                               Attorney for Certain Personal Injury Creditors




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